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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                            Case No. 20-24676-Civ-GAYLES/TORRES


   N.A.S.,

        Plaintiff,

   v.

   MORADA-HAUTE FURNITURE
   BOUTIQUE LLC, FERNAN HERNANDEZ,
   and HOLGER ODENSTEIN,

        Defendants.
   ________________________________/

                  REPORT & RECOMMENDATION ON DEFENDANTS’
                         AMENDED MOTION TO DISMISS

          This matter is before the Court on Morada-Haute Furniture Boutique LLC’s

   (“Morada”),       Fernan    Hernandez’s    (“Hernandez”),    and   Holger    Odenstein’s

   (“Odenstein”) (collectively, “Defendants”) amended motion to dismiss the amended

   complaint [D.E. 28] filed by N.A.S. (“Plaintiff”).    [D.E. 56].   Plaintiff responded to

   Defendants’ amended motion on July 1, 2021 [D.E. 68] to which Defendants replied

   on July 8, 2021.      [D.E. 73].1 Therefore, Defendants’ amended motion is now ripe for

   disposition.      After careful consideration of the amended motion, response, reply, and

   relevant authority, and for the reasons discussed below, Defendants’ amended motion

   should be GRANTED in part and DENIED in part.


   1     On July 26, 2021, the Honorable Darrin P. Gayles referred to the Undersigned
   a Report and Recommendation on all dispositive matters. [D.E. 85].
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                                   I.      BACKGROUND

         Plaintiff, a citizen of Texas, hired Defendants, Morada and its co-founders

   Odenstein and Hernandez, to provide interior design services and to manufacture

   rugs and furnishings for a residence in Miami.    Morada represented to Plaintiff that

   it is the owner of six factories in Italy and manufactures its goods there, including

   high-end furniture and rugs. [D.E. 28]. Plaintiff filed this lawsuit claiming that

   things did not go well after that.   Though Morada purported to perform under the

   agreement, certain items were late or missing; furniture dimensions were wrong;

   carpets and fabrics were stained; rugs fell apart inexplicitly; paint and cabinets were

   different than represented; Morada did not manufacture the goods itself as

   represented; and certain imported goods were noncompliant with U.S. law.

         After Defendants were notified of these issues, they asked for a key to the

   Miami residence to fix what they could.   Based on certain representations, including

   agreeing not to take videos or photos of the residence, Plaintiff provided one of the

   Defendants the key.     Plaintiff later noticed that “on multiple occasions that all

   exterior doors were being forced open [and] locks were disabled because the keys and

   latches had tape over them so the locking system could not function.” Id. at ¶ 17.

   She also noticed that a maid service was present, that her personal items were moved,

   closets were rifled through, the kitchen was rearranged, and the refrigerator

   contained non-occupant items.    After Morada denied any knowledge of these issues,

   it hired a five-person photography crew and sent them to the Miami residence without

   Plaintiff’s knowledge or approval.   Plaintiff discovered the crew in the residence, and

   “she found all exterior doors were jammed open and not closable, no Morada


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   representative was on-site, and there was professional staging of $60,000.00 of items

   not owned by Plaintiff in the Miami residence.” Id. at ¶ 18.           Plaintiff later found

   out that Defendants secretly conducted other photoshoots of the Miami residence

   without her approval.

          On March 2, 2021, Plaintiff filed a six-count amended complaint:          Rescission

   against Morada (Count I), Breach of Contract against Morada (Count II), Fraud in

   the Inducement against Defendants (Count III), Fraud against Defendants (Count

   IV), Ultra Vires Fraud/Fraud in the Inducement against Odenstein and Hernandez

   (Count V), and Invasion of Privacy against Defendants (Count VI).             Through this

   motion Defendants seek to dismiss these claims.

                       II.   APPLICABLE PRINCIPLES AND LAW

          Under Federal Rule of Civil Procedure 12(b)(6), a court may dismiss a claim

   for failure to state a claim upon which relief can be granted.        “To survive a motion

   to dismiss, a complaint must contain sufficient factual matter, accepted as true, to

   ‘state a claim to relief that is plausible on its face.’”   Ashcroft v. Iqbal, 556 U.S. 662,

   678 (2009) (quoting Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 570 (2007)).

   Conclusory statements, assertions or labels will not survive a 12(b)(6) motion to

   dismiss.   Id.    “A claim has facial plausibility when the plaintiff pleads factual

   content that allows the court to draw the reasonable inference that the defendant is

   liable for the misconduct alleged.”      Id.; see also Edwards v. Prime, Inc., 602 F.3d

   1276, 1291 (11th Cir. 2010) (setting forth the plausibility standard).             “Factual

   allegations must be enough to raise a right to relief above the speculative level[.]”

   Twombly, 550 U.S. at 555 (citation omitted).       Additionally:


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           Although it must accept well-pled facts as true, the court is not required
           to accept a plaintiff's legal conclusions. Ashcroft v. Iqbal, 556 U.S. 662,
           678 (2009) (noting “the tenet that a court must accept as true all of the
           allegations contained in a complaint is inapplicable to legal
           conclusions”). In evaluating the sufficiency of a plaintiff's pleadings,
           we make reasonable inferences in Plaintiff's favor, “but we are not
           required to draw plaintiff’s inference.” Aldana v. Del Monte Fresh
           Produce, N.A., Inc., 416 F.3d 1242, 1248 (11th Cir. 2005). Similarly,
           “unwarranted deductions of fact” in a complaint are not admitted as true
           for the purpose of testing the sufficiency of plaintiff's allegations. Id.; see
           also Iqbal, 556 U.S. at 681 (stating conclusory allegations are “not
           entitled to be assumed true”).

   Sinaltrainal v. Coca-Cola, 578 F.3d 1252, 1260 (11th Cir. 2009), abrogated on other

   grounds by Mohamad v. Palestinian Auth., 566 U.S. 449, 453 n.2, (2012).                   The

   Eleventh Circuit has endorsed “a ‘two-pronged approach’ in applying these principles:

   1) eliminate any allegations in the complaint that are merely legal conclusions; and

   2) where there are well-pleaded factual allegations, ‘assume their veracity and then

   determine whether they plausibly give rise to an entitlement to relief.’”        Am. Dental

   Ass’n v. Cigna Corp., 605 F.3d 1283, 1290 (11th Cir. 2010) (quoting Iqbal, 556 U.S. at

   679).

                                          III.   ANALYSIS

           Defendants attack the amended complaint several ways. First, they assert

   the amended complaint lacks facts that Odenstein and Hernandez pierced the

   corporate veil of Morada, so all individual claims against them must be dismissed.

   [D.E. 56].    Second, Defendants argue that the amended complaint lumps facts

   together in violation of the particularity requirements of Federal Rule of Civil

   Procedure 9(b).     Third, they contend that the entire action should be dismissed

   because Plaintiff lacks standing.     The remaining arguments respectively try to show

   that Plaintiff has failed to state a claim for Counts I, III, IV, V, or VI.

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         A.     Individual Defendants’ Liability and The Corporate Veil

         Defendants first argue that Plaintiff has not pled a single fact that

   demonstrates Morada was the alter ego of Odenstein and Hernandez.                 In fact,

   Plaintiff completely agrees with Defendants.             But Plaintiff’s claims against

   Odenstein and Hernandez are not based on piercing the corporate veil and imposing

   personal liability on them due to the acts of Morada.            See Belleview Biltmore

   Partners, LLC v. Noah & Assocs., 2018 WL 1795480, at *3-4 (S.D. Fla. Mar. 13, 2018),

   report and recommendation adopted sub nom. Belleview [Biltmore] Partners, LLC v.

   Casiano, 2018 WL 1795438 (S.D. Fla. Apr. 3, 2018) (“Piercing the corporate veil is a

   theory to impose liability on an individual for the debts or acts of the corporation.”)

   (citing Dania Jai-Alai Palace, Inc. v. Sykes, 450 So. 2d 1114 (Fla. 1984)). The claims

   are instead based on the alternative theory that their individual acts were ultra vires

   acts, and as such sufficient to hold Odenstein and Hernandez individually liable.      Cf.

   Share v. Broken Sound Club, Inc., 312 So. 3d 962, 971-73 (Fla. Dist. Ct. App. 2021)

   (finding that board members of a corporation were not liable as their actions were not

   beyond the scope of power granted by the corporation’s charter or bylaws).

         Our review of the complaint in fact shows that this ultra vires theory for

   individual liability is pleaded alongside claims against the corporation itself for

   Odenstein and Hernandez’s alleged malfeasance that depend on corporate approval

   of their conduct.   [D.E. 28, ¶ 46].    It is clear that the individual claims here amount

   to pleading of claims in the alternative, which is perfectly permissible under Federal

   Rule of Civil Procedure 8(d)(3).       See Fed. R. Civ. P. 8(d)(3) (“A party may state as

   many separate claims or defenses as it has, regardless of consistency.”); Allstate Ins.


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   Co. v. James, 779 F.2d 1536, 1540 (11th Cir. 1986) (“Litigants in federal court may

   pursue alternative theories of recovery, regardless of their consistency.”).

   Defendants make no attempt to refute this position by Plaintiff in their reply. So we

   agree that the claims against the individual defendants that depend on this

   alternative theory survive Rule 12(b)(6) review at this stage. The motion should thus

   be DENIED in this respect.     But because the individual claims are dependent on an

   ultra vires theory, Plaintiff’s will likely have to elect which remedy and cause of action

   it will pursue on the tort claims because the corporate and individual claims in this

   context are mutually exclusive.

         B.     Particularity Requirement for Fraud Counts

         Defendants next argue that Plaintiff has “indiscriminately lumped together

   the actions of Morada, Odenstein and Hernandez, thereby creating confusion and

   making the analysis of the Complaint unnecessarily burdensome.” [D.E. 68].           And

   Defendants contend that this lumping is especially problematic because Rule 9(b)

   requires facts supporting claims for fraud to be plead with particularity.            For

   example, the amended complaint states that “MORADA, Odenstein, Hernandez and

   its employees repeatedly misrepresented the identity of visitors to the Miami

   residence to the Homeowner’s Association security” and “falsely represented that only

   persons performing repairs were present.” [D.E. 28].        Plaintiff counters that this

   pleading adequately differentiates who made the false statements and describes them

   enough to allow Defendants to defend the lawsuit.

         Where a cause of action sounds in fraud, Rule 9(b) must be satisfied rather

   than the more relaxed standard of Rule 8. See U.S. ex. rel. Clausen v. Lab. Corp. of


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   Am., Inc., 290 F.3d 1301, 1309-10 (11th Cir. 2002).     Rule 9(b) provides that “[i]n

   allegations of fraud or mistake, a party must state with particularity the

   circumstances constituting fraud or mistake” but that “[m]alice, intent, knowledge,

   and other conditions of a person’s mind shall be averred generally.” Fed. R. Civ. P.

   9(b).   Rule 9(b) is satisfied if a plaintiff pleads:

           (1) precisely what statements were made in what documents or oral
           representations or what omissions were made, and (2) the time and
           place of each such statement and the person responsible for making (or,
           in the case of omissions, not making) same, and (3) the content of such
           statements and the manner in which they misled the plaintiff, and (4)
           what the defendants obtained as a consequence of the fraud.

   Ziemba v. Cascade Int’l, Inc., 256 F.3d 1194, 1202 (11th Cir. 2001) (quoting Brooks v.

   Blue Cross & Blue Shield of Fla., Inc., 116 F.3d 1364, 1371 (11th Cir. 1997)).      In

   other words, this requires a plaintiff to establish the ‘who, what, when, where, and

   how’ of the fraud.” Ceithaml v. Celebrity Cruises, Inc., 207 F. Supp. 3d 1345, 1353

   (S.D. Fla. 2016) (citing Garfield v. NDC Health Corp., 466 F. 3d 1255, 1262 (11th Cir.

   2006)). The pleading may use, in the alternative, means reasonably calculated to

   notify a defendant with particularity of his alleged role in the fraud. See Brooks, 116

   F.3d at 1381.

           Because Counts III, IV, and V are grounded in fraud, they are subject to the

   heightened pleading standard of Rule 9(b). Clearly, Plaintiff did not identify who

   specifically made the different representations and lumped all of them together

   against each Defendant in every allegation based in fraud. If we do not know if

   Morada, Hernandez, or Odenstein made a specific representation, how can they know

   and defend themselves appropriately? Plaintiff also did not adequately describe the

   time, place, and manner in which these statements were made, contrary to Rule 9(b).

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   See Joseph v. Bernstein, 2014 WL 4101392, at *6 (S.D. Fla. Aug. 19, 2014), aff’d, 612

   F. App’x 551 (11th Cir. 2015).

         Moreover, these Counts read like common law negligence or breach of contract

   counts against multiple defendants. If that were the case, perhaps they would not

   be ripe for dismissal.   But when one pleads fraud, the law requires a clear and

   definite roadmap in the pleading as to who said what, when it was said, how it was

   said, how it was relied upon, and how it injured the plaintiff to the extent that a fraud

   claim arises. Because Plaintiff has chosen to include three fraud claims in what

   could have simply been a breach of contract claim, Plaintiff has a heightened pleading

   obligation that it has not met.2

         Defendants’ motion to dismiss the amended complaint regarding Counts III,

   IV, and V should therefore be GRANTED, and the fraud claims dismissed with

   prejudice.3




   2      In addition, Plaintiff’s claims sound more like fraud in the performance claims,
   which are not viable in any event when pled alongside a breach of contract claim like
   here. See Cutler v. Voya Fin., Inc., 2018 WL 4410202, at *8 (S.D. Fla. Aug. 23, 2018),
   report and recommendation adopted, 2018 WL 7627867 (S.D. Fla. Oct. 26, 2018) (“[A]
   ‘fraud in the performance’ claim is not actionable alongside a breach of contract claim
   because the ‘misrepresentations are interwoven and indistinct from the heart of the
   contractual agreement.’”) (quoting Hotels of Key Largo, Inc. v. RHI Hotels, Inc., 694
   So. 2d 74, 78 (Fla. 3d DCA 1997)).

   3     Plaintiff seeks leave to amend her complaint and argues that such leave should
   be freely given. However, the deadline to amend the complaint passed over five
   months ago and the deadline for all pretrial motions is only two months away. To
   accommodate this request, the Court would thus need to amend the pretrial
   scheduling order and push back the trial scheduled for January 3, 2022. Plaintiff’s
   purported standard for leave to amend under Rule 15 is therefore misplaced. She
   must instead, as per Rule 16, show good cause and that there would be no undue
   prejudice to Defendants in order for us to grant the leave to amend. See e.g., Ray v.
   Equifax Info. Servs., LLC, 327 F. App’x 819 (11th Cir. 2009). Because Plaintiff has
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          C.     Standing

          Defendants also move to dismiss the entire amended complaint because they

   contend Plaintiff lacks standing because it is not the real party in interest in the case

   as it does not own the residence where the work was due to be performed.              But

   Plaintiff alleges that she is “a direct beneficiary of the trust that owns the residence

   discussed herein and/or is otherwise the real party in interest.”              [D.E. 28].

   Defendants do not dispute that, if Plaintiff really is a direct beneficiary of the trust

   that owns the Miami residence, she has standing to bring her claims related to the

   residence.    Instead, Defendants argue, based largely on facts outside the four

   corners of the complaint, that Plaintiff has not adequately alleged or shown how she

   really is a direct beneficiary.   This argument is based on their assertion that Plaintiff

   “has never been named on the invoices, agreements, and communications between

   the parties” and that the owner of the Miami residence “is listed as TVPX Aircraft

   Solutions, Inc., a Utah corporation, as Trustee of the TVPX 4502 Business Trust.”

   [D.E. 56].

          But the amended complaint does in fact allege that Plaintiff has standing

   based on her status as direct beneficiary of the trust. And it expressly alleges that

   Plaintiff is the real party in interest based upon the fact that the contractual promises

   and alleged fraudulent misrepresentations were made by Defendants to Plaintiff

   personally. [D.E. 28 ¶¶ 1, 9-10, 52]. So merely rebutting Plaintiff’s allegation that she

   has an interest in the Miami residence with other contrary facts is not an appropriate



   made no attempt to show either good cause or no undue prejudice against Defendants,
   Plaintiff should not be given leave to amend.

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   argument for a motion to dismiss.       See Hishon v. King & Spalding, 467 U.S. 69, 73

   (1984) (“At this stage of the litigation, we must accept [Plaintiff’s] allegations as

   true.”).    Moreover, Defendants’ alleged facts are not supported by any sworn

   declaration or documentation.       And even if Defendants’ set of facts were true,

   Plaintiff could still be a direct beneficiary of the trust that owns the Miami residence.

   As such, Plaintiff’s allegations, accepted as true, demonstrate that she has “suffered

   an ‘injury in fact’—an invasion of a judicially cognizable interest which is (a) concrete

   and particularized and (b) actual or imminent, not conjectural or hypothetical; (2)

   that there be a causal connection between the injury and the conduct complained of—

   the injury must be fairly traceable to the challenged action of the defendant, and not

   the result of the independent action of some third party not before the court; and (3)

   that it be likely, as opposed to merely speculative, that the injury will be redressed

   by a favorable decision.”    See Bennet v. Spear, 520 U.S. 154, 167 (1997) (citing Lujan

   v. Defenders of Wildlife, 504 U.S. 555, 561 (1992)). Plaintiff thus has standing to

   survive dismissal at the motion to dismiss stage.      Whether Plaintiff can maintain

   individual standing as to all the claims alleged in the amended complaint may be a

   matter for factual development and summary judgment.         But as Defendants seek to

   dismiss the complaint as a whole for lack of standing, that relief should be DENIED

   at this stage.

          D.        Rescission (Count I)

          Next, Defendants move to dismiss the claim against Morada for rescission.

   Common law rescission is an equitable remedy where the goal is to place the parties

   in the position that each enjoyed before the contract was executed. See Billian v.


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   Mobil Corp., 710 So. 2d 984, 990 (Fla. 4th DCA 1998). This relief is not given as a

   matter of right; thus, the Court has discretion to allow rescission based on the

   specifics of each case and in the interest of justice. See id. Under the common law,

   the rescinding party must first tender the property that she has received under the

   agreement before the contract may be considered void, and then the contract becomes

   void and the rescinding party may bring an action to insure that the other party will

   restore her to the position that she was in prior to entering into the agreement. As

   such, to state a claim for common law rescission, a party must allege facts

   demonstrating: (1) the parties’ relationship or character, (2) a contract, (3) fraud,

   mistake, false representations, impossibility of performance, or other ground for

   rescission, (4) that the party seeking rescission actually rescinded the contract and

   notified the other party accordingly, (5) if the moving party received benefits from the

   contract, a party must allege that they attempted to restore those benefits, and (6)

   that there is no adequate remedy at law. Id. at 991 (citing Crown Ice Mach. Leasing

   Co. v. Sam Senter Farms Inc., 174 So. 2d 614, 617 (Fla. 2nd DCA 1965)).

         Here, Plaintiff concedes that all of the elements of a proper rescission claim

   are not met. Specifically, the missing elements are that the contract at issue was

   not actually rescinded, or that Morada has been notified of a rescission. Plaintiff

   instead argues that these conditions for rescission would have been futile. Plaintiff,

   however, fails to cite to any case law that supports a futility exception to a proper

   rescission claim. The fact that an equitable claim may be futile on its terms does not

   leave the Plaintiff without a remedy.       But it does leave a Plaintiff without a

   rescission remedy as a matter of law. Accordingly, Defendants’ motion to dismiss


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   Count I should be GRANTED.

         E.     Invasion of Privacy (Count VI)

         Last, Defendants argue that Plaintiff’s invasion of privacy claim fails because

   there are no allegations of a publication.   Florida recognizes four types of invasion of

   privacy claims:    “(1) appropriation-the unauthorized use of a person’s name or

   likeness to obtain some benefit; (2) intrusion-physically or electronically intruding

   into one’s private quarters; (3) public disclosure of private facts-the dissemination of

   truthful private information which a reasonable person would find objectionable; and

   (4) false light in the public eye-publication of facts which place a person in a false

   light even though the facts themselves may not be defamatory.”        Agency for Health

   Care Admin. v. Associated Indus. of Fla., Inc., 678 So. 2d 1239, 1252 (Fla. 1996) (citing

   Forsberg v. Housing Auth. Of City of Miami Beach, 455 So. 2d 373, 376 (Fla. 1984)

   (Overton, J., concurring)).   The second type, also called intrusion upon seclusion,

   requires an intrusion “into a ‘place’ in which there is a reasonable expectation of

   privacy.” Allstate Ins. Co. v. Ginsberg, 863 So. 2d 156, 162 (Fla. 2003) (per curiam).

   The intrusion must also be highly offensive to the reasonable person. See Hammer

   v. Sorensen, 824 F. App’x 689, 695 (11th Cir. 2020).

         Because Plaintiff claim includes intrusion upon seclusion, we cannot dismiss

   the claim even if Plaintiff failed to allege publication. See id. (“Although most claims

   under this cause of action involve publication to a third party of some matter

   considered private, the cause of action can nonetheless arise even when no

   publication occurs.”) (citing Stoddard v. Wohlfahrt, 573 So. 2d 1060, 1062 (Fla. Dist.

   Ct. App. 1991)).    And Plaintiff’s allegations specifically claim that Defendants


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   intruded into the Miami residence and the intrusion was highly offensive to the

   reasonable person. For instance, Plaintiff alleges that the intrusion included “the

   physical invasion of the Miami residence via the presence of a multiparty camera

   crew and staging crew conducting a photoshoot without authorization, as well as the

   intrusion into Plaintiff’s personal affairs, including moving and rifling through

   Plaintiff’s toiletries, underwear, pillows, beds, prescription drugs and personal

   items.” [D.E. 28 ¶49].     These are sufficient and plausible allegations to sustain a

   claim for invasion of privacy through intrusion upon seclusion.            Whether any

   material damages may flow from such a claim is a matter for the trier of fact.

          Defendants counter this showing by arguing that this was not a highly

   offensive intrusion so the claim should fail. But this too is clearly a question for a

   jury to answer, not the Court at this stage of litigation.   And the Court does not agree

   that someone going through your underwear without permission (if true) is per se not

   highly offensive. At the very least a reasonable juror could certainly conclude that

   such an intimate adventure is highly offensive.      Hence Plaintiff has established the

   elements for a proper invasion of privacy (intrusion upon seclusion) claim, and

   Defendants’ motion to dismiss Count VI should thus be DENIED.

                                      III.   CONCLUSION

           For the foregoing reasons, the Court RECOMMENDS that Defendants’

   amended motion to dismiss [D.E. 56] should be GRANTED in part and DENIED in

   part: Counts I, III, IV, and V should be DISMISSED with prejudice. 4                 The




   4      The related motion to stay discovery [D.E. 58] should also be Denied as moot
   in light of the viability of the contract and tort claims that are not dismissed.
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   remaining counts in the amended complaint should proceed to final adjudication

   based upon a complete record.

         Pursuant to Local Magistrate Rule 4(b) and Fed. R. Civ. P. 73, the parties have

   fourteen (14) days from service of this Report and Recommendation within which to

   file written objections, if any, with the District Judge.     Failure to timely file

   objections shall bar the parties from de novo determination by the District Judge of

   any factual or legal issue covered in the Report and shall bar the parties from

   challenging on appeal the District Judge’s Order based on any unobjected-to factual

   or legal conclusions included in the Report. 28 U.S.C. § 636(b)(1); 11th Cir. Rule 3-

   1; see, e.g., Patton v. Rowell, 2017 WL 443634 (11th Cir. Feb. 2, 2017); Cooley v.

   Comm’r of Soc. Sec., 2016 WL 7321208 (11th Cir. Dec. 16, 2016).

         DONE AND SUBMITTED in Chambers at Miami, Florida, this 24th day of

   August, 2021.


                                                 /s/ Edwin G. Torres
                                                 EDWIN G. TORRES
                                                 United States Magistrate Judge




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